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                  IN THE UNITED STATES DISTRICT COURT
                                                                            FILED
                      FOR THE DISTRICT OF MONTANA                            AUG 18 2016
                            HELENA DIVISION                              Cieri< us o· .
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 UNITED STATES OF AMERICA,                             CR 16-05-H-DLC
                      Plaintiff,
                                                      FINDINGS AND
        vs.                                         RECOMMENDATION
                                                    CONCERNING PLEA
 RACHEL LEANNA ROSS,

                      Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to conspiring to possess with the intent to

distribute, and conspiring to distribute, methamphetamine in violation of 21

U.S.C. §§ 841(a)(l) and 846 as set forth in the Superseding Information. In

exchange for Defendant's plea, the United States has agreed to dismiss Counts I -

IV of the Indictment, and Counts I - IV of the Superseding Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature of the charge against her and


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consequences of pleading guilty to the charge,

      3. That the Defendant fully understands her constitutional rights, and the

extent to which she is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that she fully understands each and every

provision of the agreement, and that all of the statements in the Plea Agreement

are true. Therefore, I recommend that the Defendant be adjudged guilty of the

offense charged in the Superseding Information, and that sentence be imposed. I

further recommend that Counts I - IV of the Indictment, and Counts I - IV of the

Superseding Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.


      DATED this 17th day of August, 2016.



                                             iah C. Lynch
                                          1ted States Magistrate Judge


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